                              NO. 07-12-00045-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL C
                                       
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JULY 17, 2012
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                         JERIMY RYAN GODWIN, APPELLANT
                                       
                                      v.
                                       
                         THE STATE OF TEXAS, APPELLEE 
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                FROM THE 396TH DISTRICT COURT OF TARRANT COUNTY;
                                       
              NO. 1230710D; HONORABLE GEORGE W. GALLAGHER, JUDGE
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Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
	Appellant, Jerimy Ryan Godwin, entered a plea of guilty to assault on a family member and, pursuant to a plea bargain, was placed on deferred adjudication community supervision for four years.  The State filed a motion and an amended motion seeking to adjudicate appellant guilty of the original offense.  The trial court heard the evidence at the hearing on the motion to adjudicate and found appellant guilty.  The trial court sentenced appellant to ten years confinement in the Institutional Division of the Texas Department of Criminal Justice.  Appellant is appealing that judgment.  We affirm.
Appellants attorney has filed an Anders brief and a motion to withdraw.  Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed. 2d 498 (1967).  In support of his motion to withdraw, counsel certifies that he has diligently reviewed the record, and in his opinion, the record reflects no reversible error upon which an appeal can be predicated.  Id. at 744-45.  In compliance with High v. State, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978), counsel has candidly discussed why, under the controlling authorities, there is no error in the trial courts judgment.  Additionally, counsel has certified that he has provided appellant a copy of the Anders brief and motion to withdraw and appropriately advised appellant of his right to file a pro se response in this matter.  Stafford v. State, 813 S.W.2d 503, 510 (Tex.Crim.App. 1991).  The court has also advised appellant of his right to file a pro se response.  Appellant has not filed a response.
By his Anders brief, counsel raised a ground that could possibly support an appeal, but concludes the appeal is frivolous.  We have reviewed this ground and made an independent review of the entire record to determine whether there are any arguable grounds which might support an appeal.  See Penson v. Ohio, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); Bledsoe v. State, 178 S.W.3d 824 (Tex.Crim.App. 2005).  We have found no such arguable grounds and agree with counsel that the appeal is frivolous.
Accordingly, counsels motion to withdraw is hereby granted and the trial courts judgment is affirmed.

			Mackey K. Hancock
                                    Justice
Do not publish.


